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                        UNITED STATES DISTRICT COURT                     Nov 18 2020.b
                        NORTHERN DISTRICT OF ILLINOIS                 THOMAS G. BRUTON
                              EASTERN DIVISION                    CLERK, U.S. DISTRICT COURT



 UNITED STATES OF AMERICA                    N"20CR                       813
       v.                                    Violations:   Title 18, United    States
                                             Code, Section 1001; Title 26, United
ANTHONY SABAINI                              States Code, Section 7206; and Title 31,
                                             United States Code, Section 5324

                                                         JUDGE TII[}[ID
                                                     MAGISTRATE.TUDGE CU&EMINGS
                                    couNT   oNE
       The SPECIAL JANUARY 20Lg GRAND JURY charges:

       1.    At times material to this indictment:

             a.       Homeland Security Investigations ('HSI") was       a   criminal

investigative unit within the Department of Homeland Security ("DHS"), &n agency

within the executive branch of the Government of the United States.

             b.       Defendant ANTHONY SABAIM was employed by HSI as a

special agent assigned to    its Oakbrook Terrace, Illinois field offrce. SABAINI's
responsibilities as   a special agent included investigating narcotics and money
laundering offenses, as well as handling confi.dential sources. As an HSI special

agent, SABAINI received training on various aspects of money laundering, including

the practice of structuring financial transactions to avoid the federal currency
reporting laws. SABAIM served as a lead instructor for an HSI training course on

money laundering and financial investigations.

            c.     SABAIM received his salary from HSI through direct deposit

made to a joint bank account at USAA Bank in the name of SABAINI and his spouse.
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               d.   On or about April L8, 2OL4, SABAINI opened a bank account at

Fifth Third Bank in his name only, for which he was the sole signatory ("SABAIM

Account 2").

               e.   From in or around April, 20L4 until in or around November, 2018,

SABAIM d.eposited approximately $251,371 in cash into SABAINI Account 2.
SABAINI deposited this cash through approximately 155 ATM deposit transactions

and approximately 7 teller deposit transactions that occurred with regular frequency

between approximately April, 20L4 and November, 2018. Each of the approximately

162 deposit transactions was less than $10,000.

                    Tit1e 31, United States Code, Section 5313(a) and Tit1e 31, Code

of Federal Regulations, Section 1030.311, required domestic fi.nancial institutions to

prepare and fiIe with the Financial Crimes Enforcement Network (FinCEItt) of the

United States Treasury a Currency Transaction Report for any transaction involving

currency of more than $10,000.

               g.   Fifth Third Bank was a domestic fi.nancial institution subject to

the Currency Transaction Reporting requirements described in the preceding sub-

paragraph.
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      2.     Beginning in or around April, 2014 and continuing until in or around

Novembe r,2018, at Naperville, in the Northern    District of Illinois, Eastern Division,

                                ANTHONY SABAINI,

defendant herein, did knowingly and for the purpose of evading the reporting

requirements of Title 31, United State Code, Section 5313(a) and regulations

prescribed thereunder, structure and attempt to structure transactions at Fifth Third

Bank by depositing United States currency in amounts under $10,000, including the

deposits listed on the dates below:

                                      l\umber of
                                        Deposit
                         Date         Transactions   Total Deposited
                     April 18,2014           1            $8,501
                     ApiI29,2014             2            $1,220
                                             a
                     Iuly 77,2014            J            $2,000
                     JuIy 26,2014            13           $7,880
                  September 19,2014          1            $3,500
                   October 31,2074           I            $5,000
                   December 3,2014           1            $3,000
                   February 10,2015          6            $4,960
                   February 13,2015          1            $2,100
                    March 5,2015             2            $6,400
                    March 12,2015            1            $3,100
                     April 1,2015            2            $5,900
                     April26,2015            2            $7,100
                     May 27,2015             I            $2,900
                     June23,2015             2            $7,000
                     July 16,2015            2            $2,580
                    August 29,2075           2           $8,000
                  November 24,2015           1           $2,500
                   December 7,2015           1           $5,000
                  December 31,2015           2           $2,260
                   January 28,2016           2           $6,000
                   February 8,2076           1           $1,140
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                                   Number of
                                    Deposit
                   Date           Transactions   Total I)enosited
             February 1,7,2016             I         $5,000
                                       a
              March 10,2076            J             s2,920
              March 20,2016                1         $3,000
               April2,2016                 I         $1,200
               April 8,2016                1         $4,500
               April22,2016                I         $2,420
               Aprll25,2016            2             $8,400
                June 6, 2016               1         $2,000
               Jwrc 16,2016            2             $ 1,480
                Iune22,2076                I         $4,000
                July 13,2016           4             $4,000
               August 5,2016           2             $3,950
              August 23,2076           6             $5,000
            September 28,2016          1             $2,500
              October 20,2016          1             $2,000
              October 27,2016          1             $2,800
             November 8,2016           2             $ 1,910
            November 26,2016           2             $4,100
              January 25,2077          2             $6,000
             February 11,2017          2             $4,000
               March 8,2017            2             $7,400
                 April^3,2077          2             $1,520
               Aprll14,2017            2             $1,900
                May 1,2017             1             $3,500
                June 1,2017            2             $6,000
                 J:ur:re 6,2017        2             $1,980
               Jwrc 13,2077            1             $2,1 50
                 July 6,2017          2              $ 1,680
                July 21,2017          2              $ 1,500
                July 27,2077          4              $3,520
              August 74,2017          J              $6,970
              August 21,2017          -1             $2,100
            September 5,2017           I             $2,300
            September 27,2017          I             $3,000
            November 13,2017          5              $4,760
             December 8,2077          5              $4,440
            December 21,2017          2              $2,500
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              February 7,2018          4            $4,230
               June 21,2018            J            $3,500
               Augusf 7,2018           4            $3,000
             September 19,2018         I            $2,300
              October 15,2018          7            $3,500
             November 2,2018           5            $2,920
             Nbvember 19,2018         11            $5,480

 In violation of Tittle 31, United States Code, Section 532a(a)(3).
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                                      COUNT TWO

      The SPECIAL JANUARY 2019 GRAND JURY turther charges:

      On or about February 21, 2015, in the Northern District of Illinois, Eastern

Division, and elsewhere,

                                 ANTHONY SABAINI,

defendant herein, willfully made and subscribed, and caused to be made and

subscribed, a U.S. Individual Income Tax Return (Form 1040 with schedules and

attachments), for the calendar year 20L4, which return was verifi.ed by written

declaration that   it   was made under the penalty of perjury and was fiIed with the

Internal Revenue Service, which return SABAINI did not believe to be true and

correct as to every material matter, in that said return reported on Line 22 that the

total income was $113,034, when SABAINI knew that the total income exceeded. that

amount;

      In violation of Title 26, United States Code, Section 7206(L).




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                                       COUNT THREE
      The SPECIAL JANUARY 2019 GRAND JURY turther charges:

      On or about February        l,   2016,   in the Northern District of Illinois, Eastern
Division, and elsewhere,

                                 ANTHONY SABAINI,

defendant herein, willfully made and subscribed, and caused to be made and

subscribed, a U.S. Individual Income Tax Returns (Form 1040             with schedules and
attachments), for the calendar year 2015, which return was verified by written

declaration that   it   was made under the penalty of perjury and was filed with the

Internal Revenue Service, which return SABAIM did not believe to be true and

correct as to every material matter, in that said return reported on Line 22 that the

total income was $118,080, when SABAINI knew that the total income exceeded that

amount;

      In violation of Title 26, United States Code, Section 7206(I).
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                                     COUNT FOUR

      The SPECIAI JANUARY 2019 GRAND JURY further charges:

      On or about February 15, 2017, in the Northern District of lllinois, Eastern

Division, and elsewhere,

                                 ANTHONY SABAINI,

d.efendant herein,      wilIfully made and subscribed, and caused. to be made    and

subscribed, a U.S. Individual Income Tax Returns (Form 1040       with schedules and

attachments), for the calendar year 2016, which return was verifi.ed by written

declaration that   it   was made under the penalty of perjury and was filed with the

Internal Revenue Service, which return SABAINI did not believe to be true and

correct as to every material matter, in that said return reported on Line 22 that tbe

total income was $123,817, when SABAINI knew that the total income exceeded that

amount;

      In violation of Title 26, United States Code, Section 7206(l).
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                                      COUNT FTYE

      The SPECIAL JANUARY 2019 GRAND JURY turther charges:

      On or about February 8, 2018, in the Northern District of Illinois, Eastern

Division, and elsewhere,

                                 ANTHONY SABAINI,

defendant herein, willfully made and subscribed, and caused to be made and

subscribed, a U.S. Individual Income Tax Returns (Form 1040 with schedules and

attachments), for the calendar year 2017, which return was verified by written

declaration that   it   was made under the penalty of perJury and was fiIed with the

Internal Revenue Service, which return SABAIM did not believe to be true and

correct as to every material matter, in that said return reported on Line 22 that tne

total income was $125,547, when SABAINI knew that the total income exceeded that

amount;

      In violation of Title 26, United States Code, Section 7206(L).




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                                       COUNT SD(

      The SPECIAL JANUARY 2019 GRAND JURY turther charges:

      On or about February 15, 2019, in the Northern District of Illinois, Eastern

Division, and elsewhere,

                                 ANTHONY SABAINI,

defendant herein, willfully made and subscribed, and caused to be made and

subscribed, a U.S. Individual Income Tax Returns (Form 1040       with schedules and
attachments), for the calendar year 2018, which return was verified by written

declaration that   it   was made under the penalty of perjury and was flled with the

Internal Revenue Service, which return SABAINI did not believe to be true and

correct as to every material matter, in that said return reported on Line 6 that the

total income was $138,625, when SABAINI knew that the total income exceeded that

amount;

      In violation of Title 26, United States Code, Section 7206(L).




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                                    COUNT SEVEN
       The SPECIAI JANUARY 2019 GRAND JURY further charges:

       1.    Paragraphs 1a and lb ofCount One are incorporated here.

       2.    At times material to Count Seven of this indictment:

             a.       The HSI Special Agent Manual contained the HSI Informants

Handbook. The Informants Handbook established policies and procedures governing

the use of confidential sources by HSI special agents. SABAINI took and passed. a

training course on the Informants Handbook in or around 2074.

             b.       As part of his duties as an HSI special agent, SABAINI handled

and served as the control agent for Source A, an HSI confidential source, from in or

around 2015 until in or around October 2018. When Source A began working for

SABAIM as a confidential source in or around 2015, Source A had previously served

approximately 10 years     in prison for a federal narcotics conviction and was on
supervised release.

     Source A's Encounter with the Drug Enforcement Adrninistration

             c.       On or about January 73, 2077,law enforcement officers with the

Drug Enforcement Administration ('DEA") were conducting an investigation of an

individual DEA later identified as Source A. On or about that day, DEA Officer A

directed a DEA confid.ential source to conduct a video-recorded controlled cocaine

purchase from an individual the DEA source had identified as a possible cocaine

supplier. During the controlled purchase, that individual sold the DEA source

approximately two ounces of cocaine for approximately $2,400-
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              d.    Shortly after the controlled cocaine purchase, DEA Officer A

identified Source A as the individual who sold cocaine to the DEA source. In or around

late Janu ary 20L7, DEA Offi.cer A ran Source A's name in a law enforcement

database. As a result, SABAINI was notified that DEA Offi,cer A had entered Source

A's name in the database. Shortly thereafter, SABAINI called DEA Offi.cer A and

then met DEA Offi.cer A in person. During these conversations, DEA Offi.cer A

informed SABAINI that Source A sold cocaine to a DEA source on or about January

L3, 20L7. SABAINI informed DEA Officer A      that Source A worked for SABAIM       as

an informant, that Source A was not working any HSI investigations or operations

on or about January 13, 20L7, and that Source A was currently working on             a

signifi.cant investigation for HSI. Based in part on SABAINI's representations, DEA

Officer A did not pursue charges against Source A at that time in connection with

Source A's distribution of cocaine to a DEA source on or about January 13,20L7.

        SABAIM's Initial Request for Authorization to Use Source A

             e.     Before in or around August 20L7, Source A worked for SABAINI

as a non-documented confi.dential source. According to the Informants Handbook, in

order to pay an HSI confi.dential source more than $2,500 for information in a fiscal

year, the source had to be documented with HSI. The Informants Handbook required

approval from a supervisory HSI offi.cial, known as the Special Agent in Charge, in

order to document a source with a criminal history. The Informants Handbook also

required that the control agent and hisflrer supervisor conduct an initial suitability


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evaluation of the source in order to document an HSI confidential source, as well as

annual suitability evaluations to maintain a documented HSI confi.dential source.

The Informants Handbook required that the suitability evaluation address the

following factors, among others: the source's criminal history, including any criminal

activity that did not result in charges, and whether the source was a target of a

pending investigation. The Informants Handbook required that the results of the

suitability evaluation be documented in a memorandum that was reviewed and

signed by another supervisory HSI official, known as the Assistant Special Agent in

Charge, before being placed in the source's file.

             t.        In or aroundAugust 20t7, SABAINI requested HSI authorization

to pay Source A $50,000 in exchange for information provid.ed by Source A. In or

around late August 2017, SABAINI was notified that HSI could not approve his

request to pay Source     A   $50,000 unless Source A was documented    with HSI as a
confidential source. SABAIM was also notifi.ed that, as stated in the Informants

Handbook, SABAINI needed to obtain approval from the Special Agent in Charge to

sign up and use Source A as a source because Source A had a criminal history.

             g.        On or about August 7,20L7, in connection with his request to the

Special Agent     in   Charge   to use Source A, SABAINI     completed and signed a

memorandum regarding Source         A with the subject line "Confidential Informant
Suitability Evaluation Report." The stated purpose of the memorandum was to

ensure compliance with the Informant Handbook regarding the evaluation of Source


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A's suitability to be a documented HSI confidential source. The suitability evaluation

memorandum was submitted to and reviewed by the Assistant Special Agent in

Charge. The memorandum asked       if   Source A had a criminal history, including any

"criminal activity that did not result in charges." The memorandum also asked

whether Source A was the target of a pending criminal investigation. In his written

response, SABAINI wrote that Source A "is not currently facing charges and is not

the target of any investigations." The memorandum did not disclose Source A's
unauthorized sale of cocaine to the DEA source on or about January L3,20L7.

             h.    On or about May 3, 2017, Source A signed an HSI document

entitled "Instructions to Confidential Informant," which stated the instructions

therein must be read to the informant as witnessed by the control agent and another

Iaw enforcement of6cer. The instructions, each of which Source A initialed, stated,

among other things:

            You are not permitted to violate any laws without the prior
            authorization of your control agent. Any authorized illegal
            activity will be conducted under the stringent control of
            HSI and requires direct contact with HSI control agent(s)
            prior to and afber the conclusion of the authorized illegal
            activity.

            You are not permitted to possess contraband and./or
            evidence without the prior knowledge and consent of your
            control agent.

SABAINI signed the instructions under Source A's signature.

            i.     On or about August L4, 20L7, SABAINI signed and sent             a

memorandum to the Special Agent in Charge requesting authorization to use Source

                                           L4
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A. The request-to-use memorandum asked for any "criminal history/unauthorized

illegal activity." In his written response, SABAINI did not disclose Source lt's sale of

cocaine     to the DEA   source on   or about January 13,       2017. Attached    to   the

memorandum was a checklist and questionnaire. The questionnaire asked. whether

Source   A had a "history of non-compliance with CI requirements" or whether
SABAINI was aware of "any other significant information" about Source A. SABAINI

answered both questions, "N/A."

              j.    On or about September 18, 20L7, based on the information
provid.ed   in SABAINI's August 14, 2OL7 request-to-use memorandum, the          Special

Agent in Charge approved SABAINI's request to use Source A for a period of 90 d.ays.

    FBI's Designation of Source A as the Target of a Drug Investigation

              k.    In or around October 2017, SABAINI was notifi.ed that Source A

was a target in a separate Federal Bureau of Investigation ("FBI") narcotics and gang

investigation. On or about October 11, 2017, SABAINI was notified that FBI was

conducting an investigation into the " [Source A] DTO [drug traffickin g organization] ."

On or about October 23, 2017, SABAINI received              a summary of the FBI's
investigation that listed Source A as a "principal target" of the investigation. The

summary described drug-related activities by Source A, including Source A's sale of

cocaine to a DEA confidential source on or about January 13,2OL7.




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      SABAINI's Request for Authorization to Continue Using Source A

              1.     In or around January 2018, SABAINI signed and sent a
memorandum to the Special Agent in Charge again requesting authorization to use

Source A, whose    initial authorization had expired in or around December   2077. Tlne

request-to-use memorandum asked for any "criminal history/unauthorized illegal

activity." In his written response, SABAINI did not disclose the pending FBI

investigation targeting Source A or Source A's sale of cocaine to the DEA source on

or about January L3, 2017. Attached to the memorandum was a checklist             and

questionnaire. The questionnaire asked whether Source A had a "history of non-

compliance   with CI requirements" or whether SABAINI was aware of "any other
significant information" about Source A. SABAINI answered both questions, "N/A."

             m.     Based on the information provided   in SABAINI's request-to-use
memorandum, on or about February 7, 20L8, the Special Agent     in Charge approved
SABAINI's request to use Source A for a period of 120 days.

             n.     On or about February 6,2018, SABAIM requested approval from

the Special Agent in Charge to pay Source A $45,000 for information and services

provided. The Special Agent in Charge approved the request, and HSI paid Source A

approximately $45,000 on or about March 9,2018.

             o.     In or   around February 2018, SABAINI conducted another

suitability evaluation of Source   A that he documented in a March 19, 2OL8
memorandum     that he authored and signed entitled "Confidential Informant

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Suitability Evaluation Report." The memorandum was submitted to Source A s file

and reviewed by an Assistant Special Agent in Charge. The memorandum asked           if
Source A had a criminal history, including any "criminal activity that did not result

in   charges." The memorandum also asked whether Source           A was the target of a
pending criminal investigation. In his written response, SABAINI wrote that Source

A "is not currently facing charges and is not the target of any investigations." The

memorandum did not disclose Source lt's unauthorized sale of cocaine to the DEA

source on or about January 13,2017. The memorandum did not disclose the FBI drug

investigation in which Source A was Iisted as a target.

              p.         On or about March L9, 20L8, an Assistant Special Agent in

Charge conducted a semi-annual management review of Source A's fi"Ie, including

SABAINI's suitability evaluation memorandum dated March 19, 2018. As a result of

this review, the Assistant Special Agent in Charge recommended keeping Source A

active as a documented source.

              q.        The following matters, among others, were material to the
authorization by HSI supervisors to use and maintain Source A as a documented

confi.dential source:

                   i.         The suitability evaLuations of Source A;

                   ii.        Whether Source      A had engaged in any uncharged or
unauthorized criminal conduct;




                                             L7
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                     rll.     Whether Source A was the target of any pending criminal

 investigations; and

                     iv.      Whether Source A complied with the instructions issued to

 informants by HSI.

       3.       Beginning in or around August 2017 and continuing until in or around

March 20t8, at Oakbrook Terrace, in the Northern District of Illinois, Eastern

Division, and elsewhere,

                                    ANTHONY SABAINI,

defendant herein, did knowingly and willfully falsifii, conceal, and cover up, by a trick,

scheme, and device, a material fact in a matter within the jurisdiction of the DHS, an

agency within the executive branch of the government of the United States.

      4.      It was part of the scheme that SABAINI, in or around August        2Ot7,   in
order to secure     initial authorization from his HSI supervisors to use Source A and
pay Source A approximately $50,000, sent a memorandum to the Special Agent in

Charge in which SABAII{I concealed:

              a.        Source   A's uncharged and unauthorized criminal conduct in
January   20L7 ,   namely, Source A's sale of cocaine on or about January rB, 2ol7;

              b.       the related DEA dr.rg investigation involving Source A; and

              c.       Source A's history    of   non-compliance   with HSI   informant
requirements.




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       5.     It   was further part of the scheme that,      in or around August 20t7, in
order to secure    initial autborization from his supervisors to use Source A and pay
Source   A approximately    $50,000, SABAINI prepared. and submitted a suitability

evaluation memorandum in which SABAINI falsely stated that Source A was not the

target of any investigations and concealed Source A's uncharged and unauthorized

criminal conduct in January 2017, namely, Source A's sale of cocaine on or about

January L3,2017.

      6.      It   was further part of the scheme that SABAINI, in or around late

January 2018, in order to secure continued authorization from his supervisors to use

Source   A and pay Source A approximately          $45,000, sent a memorandum      to the

Special Agent   in Charge in which SAB{NI concealed:

              a.       Source   A's uncharged and unauthorized criminal conduct rn

January 2017, namely, Source A's sale of cocaine on or about January L3,20L7;

              b.      the related DEA drug investigation involving Source A;

              c.      the FBI drug investigation in which Source A was listed as        a

target in or around October 2018; and

              d.      Source    A's history of    non-compliance    with HSI   informant

requirements.

      7.      It was further part    of the scheme that,   in or around February 2018 and

March 2018, in order to secure continued authorization from his supervisors to use

Source   A   and pay Source      A   approximately $45,000, SABAINI prepared. and


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submitted a suitability evaluation memorandum in which SABAINI falsely stated

that   Source   A was not the target of any investigations and concealed Source A's
uncharged and unauthorized criminal conduct in January 2017 namely, Source A's

sale ofcocaine on or about January 13,2017.

       In violation of Title 18, United States Code, Section 1001(a)(1).


                                               A TRUE BILL:



                                               FOREPERSON



Signed by Amarjeet S. Bhachu
on behalf of the
UMTED STATES ATTORNEY




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